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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND

      In re:

      ROMAN CATHOLIC ARCHBISHOP OF                                Chapter 11
      BALTIMORE,
                                                                  Case No. 23-16969-MMH
                                 Debtor. 1


                            NOTICE OF PROPOSED AGENDA FOR HEARING
                           SCHEDULED FOR JULY 22, 2024, AT 10:00 A.M. (ET)

     CONTINUED MATTERS IN MAIN CASE (23-16969)

     CONTESTED MATTERS:

I.             Debtor and Official Committee of Unsecured Creditors’ Joint Request for Mediation (Dkt.
               No. 564; Filed 5/23/2024).

               Related Documents:

               A.      None.

               Responses Received:

               A.      Moving Insurers’ Response Filed by Hartford Accident and Indemnity Co., et al.
                       (Dkt. No. 586; Entered 6/6/2024).

               B.      Omnibus Objection Filed by Westchester Fire Insurance Co., et al. (Dkt. No. 587;
                       Filed 6/6/2024).

               C.      Line Filing Reply in Support of Joint Request for Mediation Filed by Official
                       Committee of Unsecured Creditors (Dkt. No. 626; Filed 6/28/2024).

               D.      Supplemental Response Filed by Hartford Accident and Indemnity Co., et al.. (Dkt.
                       648; Filed 7/17/2024).

               E.       Supplemental Objection Filed by Federal Insurance Co., et al. (Dkt. No. 649; Filed
                       7/17/2024).

               Status: This matter is going forward, and the parties intend to present arguments to the
               Court at the hearing scheduled for July 22, 2024 (the “Hearing”).




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       The last four digits of the Debtor’s federal tax identification number are 1535. The Debtor’s principal place of
     business is located at 320 Cathedral Street, Baltimore, Maryland 21201.
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     CONTINUED MATTERS IN ADVERSARY PROCEEDING

     (24-00072) CONTESTED MATTERS:

I.          Debtor’s Joint Request for Mediation (Dkt. No. 89; Filed 6/4/2024).

            Related Documents:

            A.     None.

            Responses Received:

            A. Objection to Joint Request for Mediation on behalf of Hartford Accident & Indemnity
               Co., et al. (Dkt. No. 134; Filed 6/18/2024).

            B. Line Filing Reply in Support of Joint Request for Mediation (Dkt. No. 152; Filed
               6/28/24).

            Status: This matter is going forward, and the parties intend to present arguments to the
            Court at the hearing.

     Dated: July 19, 2024                       Respectfully submitted,


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                                                Attorneys for the Debtor and Debtor in Possession




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                                   CERTIFICATE OF SERVICE
               I hereby certify that on the 19th day of July 2024, notice of filing the Notice of

Proposed Agenda for Hearing Scheduled for July 22, 2024, at 10:00 a.m. (ET) (the “Notice”)

was served by CM/ECF to those parties listed on the docket as being entitled to such electronic

notices, which parties are identified on the attached service list. In addition, Epiq Corporate

Restructuring, LLC will cause a true and correct copy of the Notice to be served on all parties

required to be served, with a certificate or affidavit of service to be filed subsequently, all in

accordance with Local Rule 9013-4.


                                                              /s/ Catherine Keller Hopkin
                                                       Catherine Keller Hopkin




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